              Case 2:20-cr-00093-RSM Document 264 Filed 12/16/21 Page 1 of 1




 1                                                               The Honorable Ricardo S. Martinez
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 5                         UNITED STATES DISTRICT COURT FOR THE
                             WESTERN DISTRICT OF WASHINGTON
 6
                                       AT SEATTLE
 7
       UNITED STATES OF AMERICA,                               NO. CR20-093 RSM
 8
                               Plaintiff,
 9                                                             ORDER SEALING EXHIBITS A AND B
                                                               TO GOVERNMENT’S RESPONSE TO
10
                          v.                                   DEFENDANT ALVAREZ-QUINONEZ’S
11                                                             MOTION TO SUPPRESS EVIDENCE
       RODRIGO ALVAREZ-QUINONEZ,
                                                               OBTAINED BY INTERCEPTION OF
12
                               Defendant.                      TELEPHONIC COMMUNICATIONS
13                                                             (DKT. 244)
14
15
            Based upon the motion of the United States, and the representations made therein,
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     and good cause having been shown:
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            IT IS HEREBY ORDERED that Exhibits A and B to the Government’s Response to
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     Defendant Alvarez-Quinonez’s Motion to Suppress Evidence Obtained by Interception of
19
     Telephonic Communications (Dkt.244) in this matter shall be sealed and shall remain sealed.
20
            DATED this 16th day of December 2021.
21
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23
                                                        A
                                                        RICARDO S. MARTINEZ
24                                                      CHIEF UNITED STATES DISTRICT JUDGE
25
26 Presented by:
27 /s/ Stephen Hobbs
   STEPHEN HOBBS
28
   Assistant United States Attorney
      ORDER TO SEAL - 1                                                      UNITED STATES ATTORNEY
                                                                             700 STEWART STREET, SUITE 5220
      United States v. Alvarez-Quinonez, CR20-093 RSM
                                                                              SEATTLE, WASHINGTON 98101
                                                                                    (206) 553-7970
